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 5                         UNITED STATES DISTRICT COURT
 6                       FOR THE DISTRICT OF WASHINGTON
 7
 8 UNITED STATES OF AMERICA,                      No. 1:13-CR-008-WFN-10

 9                      Plaintiff,                ORDER GRANTING MOTION AND
10                                                DIRECTING PREPARATION OF A
     vs.                                          SUPPLEMENTAL PRETRIAL
11                                                REPORT
12 KATRIEL MARQUIS BULLEY,
13
                        Defendant.
14
15         Before the Court is the Defendants “Motion for Reconsideration of Pretrial
16   Release Order and Request for Supplement Pretrial Services Report,” ECF No.
17   1782. For good cause shown,
18         The portion of the Motion that asks for a Supplemental Pretrial Services
19   Report is GRANTED.
20         The United States Probation Office is directed to work with defense counsel
21   to contact the Defendant’s father and investigate his home as a potential residence
22   for the Defendant Katriel Marquis Bulley.
23         Defense counsel is directed to refile his Motion for Release following receipt
24   of the supplemental Pretrial Services Report.
25         IT IS SO ORDERED.DATED March 14, 2014.
26
                               S/ JAMES P. HUTTON
27                      UNITED STATES MAGISTRATE JUDGE
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     ORDER - 1
